Case 24-23530   Doc 15    Filed 08/23/24 Entered 08/23/24 22:28:15   Desc Imaged
                         Certificate of Notice Page 1 of 5
Case 24-23530       Doc 15      Filed 08/23/24 Entered 08/23/24 22:28:15                     Desc Imaged
                               Certificate of Notice Page 2 of 5




       It appearing to the Court that Applicant, Robert A. Faucher, meets the pro hac vice

admission requirements of DUCiv R 83-1.1(d)(1) and Bankr D. Ut. LBR 2090-1, the Motion for

Admission Pro Hac Vice of Robert A. Faucher in the United States Bankruptcy Court, District of

Utah in the subject case is GRANTED.

                                 ---END OF DOCUMENT---
Case 24-23530              Doc 15      Filed 08/23/24 Entered 08/23/24 22:28:15            Desc Imaged
                                      Certificate of Notice Page 3 of 5




                    CERTIFICATE OF SERVICE BY MAIL OR OTHER MEANS

        I HEREBY CERTIFY that on this 21st day of August, 2024, I caused the foregoing
MOTION FOR ADMISSION PRO HAC VICE AND CONSENT OF DESIGNATED
ASSOCIATE LOCAL COUNSEL to be filed electronically through the CM/ECF system,
which caused the following parties or counsel to be served by electronic means, as more fully
reflected on the Notice of Electronic Filing:

              Mark C. Rose
              McKay, Burton & Thurman, P.C.
              trustee@mbt-law.com

              U.S. Trustee
              USTPRegion19.SK.ECF@usdoj.gov


      AND I FURTHER CERTIFY that on said date I served the foregoing on the following
non-CM/ECF Registered Participants by U.S. First Class Mail and/or e-mail as indicated:

              By U.S. First Class Mail – postage prepaid:

                     Ammon Edward Bundy, pro se
                     P.O. Box 1062
                     Cedar City, UT 84721

                     Ammon Edward Bundy
                     896 E 400 S
                     New Harmoney, UT 84757

              By E-Mail:

                     Ammon E. Bundy
                     aebundy@bundyfarms.com




                                                   /s/ Benjamin D. Passey
                                                   Benjamin D. Passey
3




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           Case 24-23530                Doc 15          Filed 08/23/24 Entered 08/23/24 22:28:15                                     Desc Imaged
                                                       Certificate of Notice Page 4 of 5
                                                              United States Bankruptcy Court
                                                                      District of Utah
In re:                                                                                                                 Case No. 24-23530-WTT
Ammon Edward Bundy                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1088-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 21, 2024                                               Form ID: pdfor1                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 23, 2024:
Recip ID                 Recipient Name and Address
db                     + Ammon Edward Bundy, P.O. Box 1062, Cedar City, UT 84721-0991
                         Ammon Edward Bund, 896 E 400 S, New Harmoney, UT 84757

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 23, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 21, 2024 at the address(es) listed
below:
Name                               Email Address
Benjamin David Passey
                                   on behalf of Creditor St. Luke's Health System Ltd. bdpassey@hollandhart.com

Benjamin David Passey
                                   on behalf of Creditor Tracy Jungman N.P. bdpassey@hollandhart.com

Benjamin David Passey
                                   on behalf of Creditor Natasha Erickson M.D. bdpassey@hollandhart.com

Benjamin David Passey
                                   on behalf of Creditor St. Luke's Regional Medical Center Ltd. bdpassey@hollandhart.com

Benjamin David Passey
                                   on behalf of Creditor Chris Roth bdpassey@hollandhart.com

Darren G. Reid
          Case 24-23530        Doc 15         Filed 08/23/24 Entered 08/23/24 22:28:15                                 Desc Imaged
                                             Certificate of Notice Page 5 of 5
District/off: 1088-4                                        User: admin                                                             Page 2 of 2
Date Rcvd: Aug 21, 2024                                     Form ID: pdfor1                                                        Total Noticed: 2
                          on behalf of Creditor Chris Roth dgreid@hollandhart.com cfries@hollandhart.com

Darren G. Reid
                          on behalf of Creditor Natasha Erickson M.D. dgreid@hollandhart.com, cfries@hollandhart.com

Darren G. Reid
                          on behalf of Creditor St. Luke's Health System Ltd. dgreid@hollandhart.com, cfries@hollandhart.com

Darren G. Reid
                          on behalf of Creditor St. Luke's Regional Medical Center Ltd. dgreid@hollandhart.com, cfries@hollandhart.com

Darren G. Reid
                          on behalf of Creditor Tracy Jungman N.P. dgreid@hollandhart.com, cfries@hollandhart.com

Engels Tejeda
                          on behalf of Creditor Natasha Erickson M.D. ejtejeda@hollandhart.com,
                          slclitdocket@hollandhart.com,intaketeam@hollandhart.com;lahansen@hollandhart.com

Engels Tejeda
                          on behalf of Creditor St. Luke's Health System Ltd. ejtejeda@hollandhart.com,
                          slclitdocket@hollandhart.com,intaketeam@hollandhart.com;lahansen@hollandhart.com

Engels Tejeda
                          on behalf of Creditor Chris Roth ejtejeda@hollandhart.com
                          slclitdocket@hollandhart.com,intaketeam@hollandhart.com;lahansen@hollandhart.com

Engels Tejeda
                          on behalf of Creditor St. Luke's Regional Medical Center Ltd. ejtejeda@hollandhart.com,
                          slclitdocket@hollandhart.com,intaketeam@hollandhart.com;lahansen@hollandhart.com

Engels Tejeda
                          on behalf of Creditor Tracy Jungman N.P. ejtejeda@hollandhart.com,
                          slclitdocket@hollandhart.com,intaketeam@hollandhart.com;lahansen@hollandhart.com

Mark C. Rose tr
                          trustee@mbt-law.com UT32@ecfcbis.com

United States Trustee
                          USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 17
